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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

SEIFULLAH CHAPMAN, )
)
Movant, )
)
v. ) No. 1:16-cV-512 (LMB)

) Crim. No. 1:03-cr-296-6 (LMB)
UNITED STATES OF AMERICA, )
)
Respondent. )

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For the reasons stated in the accompanying Memorandum Opinion, movant Seifullah
Chapman’s Motion to Vacate Under 28 U.S.C. § 2255 [Dkt. No. 813] is GRANTED, and it is
hereby

ORDERED that Chapman’s convictions on Counts 11, 20, and 22 of the Superseding
Indictment [Dkt. No. 167] be and are VACATED.

Because Chapman was sentenced to concurrent sentences of 60 months imprisonment on
Count 1 and 120 months imprisonment on Count 5 of the Superseding Indictment, which are the
two remaining counts of conviction, and has already served more than 120 months in the custody
of the Bureau of Prisons, it is further

ORDERED that Chapman be released from custody immediately to begin serving the 3
year term of supervised release which Was imposed on Counts l and 5; and it is further

ORDERED that the Clerk refund any special assessment payments that Chapman has
made with respect to his convictions on Counts 11, 20, and 22; and it is further

ORDERED that in light of Chapman’s Motion to Vacate being granted, his Motion to

Reduce Sentence [Dkt. No. 878], Motion for Order Requiring the Bureau of Prisons to Provide

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Attorney-Client Phone Call [Dkt. No. 901], and Motion for Release from Custody Pending the
Court’s Disposition of Movant’s Motion to Vacate Under 28 U.S.C. § 2255 [Dkt. No. 904] be and
are DENIED AS MOOT.

The Clerk is directed to forward copies of this Order to counsel of record and to the United

States Probation Oft`lce, which is directed to immediately notify the Bureau of Prisons.

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Leonie M. Brinkema
United States District Judge

sat
Emered this EL day ofJuly, 2018.

Alexandria, Virginia

